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                                       Presentment Date and Time: June 26, 2018 at 10:00 a.m. (Eastern Time)
                                                Objection Deadline: June 19, 2018 at 4:00 p.m. (Eastern Time)
                    Hearing Date and Time (Only if Objection Filed): June 26, 2018 at 11:00 a.m. (Eastern Time)
 WEIL, GOTSHAL & MANGES LLP
 767 Fifth Avenue
 New York, New York 10153
 Gary T. Holtzer
 Robert J. Lemons
 Garrett A. Fail
 David N. Griffiths
 Telephone: (212) 310-8000
 Facsimile: (212) 310-8007

 Attorneys for Debtors
 and Debtors in Possession

 UNITED STATES BANKRUPTCY COURT
 SOUTHERN DISTRICT OF NEW YORK
 ------------------------------------------------------------ x
 In re:                                                       :        Chapter 11
                                                              :
 WESTINGHOUSE ELECTRIC COMPANY                                :        Case No. 17-10751 (MEW)
 LLC, et al.,                                                 :
                                                              :
                   Debtors.   1                               :        (Jointly Administered)
                                                              :
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         NOTICE OF PRESENTMENT OF SUPPLEMENTAL APPLICATION
          OF THE DEBTORS PURSUANT TO 11 U.S.C. §§ 327(a) AND 328(a),
     FED. R. BANKR. P. 2014(a) AND 2016, AND LOCAL RULES 2014-1 AND 2016-1
    FOR AUTHORITY EXPAND THE RETENTION OF DELOITTE TRANSACTIONS
      AND BUSINESS ANALYTICS LLP NUNC PRO TUNC TO JANUARY 22, 2018




 1
   The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
 number, if any, are: Westinghouse Electric Company LLC (0933), CE Nuclear Power International, Inc. (8833),
 Fauske and Associates LLC (8538), Field Services, LLC (2550), Nuclear Technology Solutions LLC (1921), PaR
 Nuclear Holding Co., Inc. (7944), PaR Nuclear, Inc. (6586), PCI Energy Services LLC (9100), Shaw Global Services,
 LLC (0436), Shaw Nuclear Services, Inc. (6250), Stone & Webster Asia Inc. (1348), Stone & Webster Construction
 Inc. (1673), Stone & Webster, Inc. d/b/a WECTEC Global Project Services Inc. (8572), Stone & Webster International
 Inc. (1586), Stone & Webster Services LLC (5448), Toshiba Nuclear Energy Holdings (UK) Limited (N/A), TSB
 Nuclear Energy Services Inc. (2348), WEC Carolina Energy Solutions, Inc. (8735), WEC Carolina Energy Solutions,
 LLC (2002), WEC Engineering Services Inc. (6759), WEC Equipment & Machining Solutions, LLC (3135), WEC
 Specialty LLC (N/A), WEC Welding and Machining, LLC (8771), WECTEC Contractors Inc. (4168), WECTEC LLC
 (6222), WECTEC Staffing Services LLC (4135), Westinghouse Energy Systems LLC (0328), Westinghouse Industry
 Products International Company LLC (3909), Westinghouse International Technology LLC (N/A), and Westinghouse
 Technology Licensing Company LLC (5961). The Debtors’ principal offices are located at 1000 Westinghouse Drive,
 Cranberry Township, Pennsylvania 16066.



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                     PLEASE TAKE NOTICE that on June 26, 2018 at 10:00 a.m. (Eastern Time),

 the undersigned will present the annexed Supplemental Application of the Debtors Pursuant to

 11 U.S.C. §§ 327(a) and 328(a), Fed. R. Bankr. P. 2014(a) and 2016, and Local Rules 2014-1 and

 2016-1 for Authority to Expand the Retention of Deloitte Transactions and Business Analytics LLP

 Nunc Pro Tunc to January 22, 2018 (the “Supplemental Application”) to the Honorable Michael

 E. Wiles, United States Bankruptcy Judge, in Room 617 of the United States Bankruptcy Court

 for the Southern District of New York, located at One Bowling Green, New York, New York,

 10004 (the “Bankruptcy Court”).

                     PLEASE TAKE FURTHER NOTICE that any responses or objections to the

 Supplemental Application (the “Objections”) must be in writing, shall conform to the Federal

 Rules of Bankruptcy Procedure and the Local Bankruptcy Rules for the Southern District of New

 York, and shall be filed with the Bankruptcy Court (a) by registered users of the Bankruptcy

 Court’s case filing system, electronically in accordance with General Order M-399 (which can be

 found at http://nysb.uscourts.gov) and (b) by all other parties in interest, on a 3.5 inch disk, in text-

 searchable portable document format (PDF) (with a hard copy delivered directly to Chambers), in

 accordance with the customary practices of the Bankruptcy Court and General Order M-399, to

 the extent applicable, and served in accordance with General Order M-399 and the Order pursuant

 to 11 U.S.C. §105(a) and Fed. R. Bankr. P. 1015(c), 2002(m), and 9007 Implementing certain

 Notice and Case Management Procedures [ECF No. 101] so as to be received no later than

 June 19, 2018 at 4:00 p.m. (Eastern Time) (the “Objection Deadline”).

                     PLEASE TAKE FURTHER NOTICE that if no Objections are timely filed and

 served with respect to the Supplemental Application, the Debtors may, on or after the Objection

 Deadline, submit to the Bankruptcy Court an order substantially in the form of the proposed order


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 annexed to the Supplemental Application, which order may be entered with no further notice or

 opportunity to be heard.

                     PLEASE TAKE FURTHER NOTICE that if one or more Objections are

 received by the Objection Deadline, the Bankruptcy Court may enter an order granting the relief

 requested in the Motion, except for relief that impacts any party with a pending Objection, and that

 if a written Objection is timely filed and served, a hearing (the “Hearing”) will be held to consider

 such Objection(s) before the Honorable Michael E. Wiles in the Bankruptcy Court, on

 June 26, 2018 at 11:00 a.m. (Eastern Time).

                     PLEASE TAKE FURTHER NOTICE that objecting parties are required to

 attend the Hearing, and failure to appear may result in relief being granted upon default.

 Dated: New York, New York
        June 12, 2018

                                               /s/ Robert J. Lemons
                                               Gary T. Holtzer
                                               Robert J. Lemons
                                               Garrett A. Fail
                                               David N. Griffiths
                                               WEIL, GOTSHAL & MANGES LLP
                                               767 Fifth Avenue
                                               New York, New York 10153
                                               Telephone: (212) 310-8000
                                               Facsimile: (212) 310-8007

                                               Attorneys for Debtors
                                               and Debtors in Possession




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                                       Presentment Date and Time: June 26, 2018 at 10:00 a.m. (Eastern Time)
                                                Objection Deadline: June 19, 2018 at 4:00 p.m. (Eastern Time)
                    Hearing Date and Time (Only if Objection Filed): June 26, 2018 at 11:00 a.m. (Eastern Time)
 WEIL, GOTSHAL & MANGES LLP
 Gary T. Holtzer
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 767 Fifth Avenue
 New York, New York 10153
 Telephone: (212) 310-8000
 Facsimile: (212) 310-8007

 Attorneys for Debtors
 and Debtors in Possession

 UNITED STATES BANKRUPTCY COURT
 SOUTHERN DISTRICT OF NEW YORK
 ------------------------------------------------------------ x
 In re:                                                       :        Chapter 11
                                                              :
 WESTINGHOUSE ELECTRIC COMPANY                                :        Case No. 17-10751 (MEW)
 LLC, et al.,                                                 :
                                                              :
                   Debtors. 1                                 :        (Jointly Administered)
                                                              :
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               SUPPLEMENTAL APPLICATION OF THE DEBTORS PURSUANT
               TO 11 U.S.C. §§ 327(a) AND 328(a), FED. R. BANKR. P. 2014(a) AND
                2016, AND LOCAL RULES 2014-1 AND 2016-1 FOR AUTHORITY
              TO EXPAND THE RETENTION OF DELOITTE TRANSACTIONS AND
              BUSINESS ANALYTICS LLP NUNC PRO TUNC TO JANUARY 22, 2018




 1
   The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
 number, if any, are: Westinghouse Electric Company LLC (0933), CE Nuclear Power International, Inc. (8833),
 Fauske and Associates LLC (8538), Field Services, LLC (2550), Nuclear Technology Solutions LLC (1921), PaR
 Nuclear Holding Co., Inc. (7944), PaR Nuclear, Inc. (6586), PCI Energy Services LLC (9100), Shaw Global Services,
 LLC (0436), Shaw Nuclear Services, Inc. (6250), Stone & Webster Asia Inc. (1348), Stone & Webster Construction
 Inc. (1673), Stone & Webster, Inc. d/b/a WECTEC Global Project Services Inc. (8572), Stone & Webster International
 Inc. (1586), Stone & Webster Services LLC (5448), Toshiba Nuclear Energy Holdings (UK) Limited (N/A), TSB
 Nuclear Energy Services Inc. (2348), WEC Carolina Energy Solutions, Inc. (8735), WEC Carolina Energy Solutions,
 LLC (2002), WEC Engineering Services Inc. (6759), WEC Equipment & Machining Solutions, LLC (3135), WEC
 Specialty LLC (N/A), WEC Welding and Machining, LLC (8771), WECTEC Contractors Inc. (4168), WECTEC LLC
 (6222), WECTEC Staffing Services LLC (4135), Westinghouse Energy Systems LLC (0328), Westinghouse Industry
 Products International Company LLC (3909), Westinghouse International Technology LLC (N/A), and Westinghouse
 Technology Licensing Company LLC (5961). The Debtors’ principal offices are located at 1000 Westinghouse Drive,
 Cranberry Township, Pennsylvania 16066.



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 TO THE HONORABLE MICHAEL E. WILES,
 UNITED STATES BANKRUPTCY JUDGE:

                     Westinghouse Electric Company LLC and certain debtor affiliates, as debtors and

 debtors in possession in the above-captioned chapter 11 cases (collectively, the “Debtors”),

 respectfully             represent     in     support       of     this     supplemental       application

 (the “Supplemental Application”):

                                                   Background

                     1.        On March 29, 2017 (the “Petition Date”), each Debtor commenced with

 this Court a voluntary case under chapter 11 of title 11 of the United States Code

 (the “Bankruptcy Code”). The Debtors are authorized to continue to operate their businesses and

 manage their properties as debtors in possession pursuant to sections 1107(a) and 1108 of the

 Bankruptcy Code. No trustee or examiner has been appointed in these chapter 11 cases.

                     2.        The Debtors’ chapter 11 cases are being jointly administered for procedural

 purposes only pursuant to Rule 1015(b) of the Federal Rules of Bankruptcy Procedure

 (the “Bankruptcy Rules”).

                     3.        On March 28, 2018, the Court entered an order [ECF No. 2988] confirming

 the Debtors’ Modified Second Amended Joint Chapter 11 Plan of Reorganization [ECF No. 2986]

 (the “Plan”).

                     4.        Additional information regarding the Debtors’ business, capital structure,

 and the circumstances leading to the commencement of these chapter 11 cases is set forth in the

 Declaration of Lisa J. Donahue Pursuant to Rule 1007-2 of the Local Bankruptcy Rules for the

 Southern District of New York [ECF No. 4], sworn to and filed on the Petition Date.

                    5.         On August 11, 2017, the Debtors filed their application, pursuant to sections

 327(a) and 328 (a) of the Bankruptcy Code, Rules 2014(a) and 2016 of the Federal Rules of

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 Bankruptcy Procedures (the “Bankruptcy Rules”), and Local Rules 2014-1 and 2016-1, to

 employ and retain Deloitte Transactions and Business Analytics LLP (“DTBA”) as their valuation

 and discovery service provider nunc pro tunc to the Petition Date [ECF No. 1128]

 (the “Original Retention Application”).

                    6.         On September 5, 2017 the Court entered an order approving the Retention

 Application on a final basis [ECF No. 1300] (the “Original Retention Order”).

                                                  Jurisdiction

                    7.         The Court has jurisdiction over this matter under 28 U.S.C. §§ 157 and

 1334. This is a core proceeding under 28 U.S.C. § 157(b).

                                               Relief Requested

                    8.         The Debtors seek authority pursuant to sections 327(a) and 328 of the

 Bankruptcy Code, Bankruptcy Rules 2014(a) and 2016, and Local Rules 2014-1 and 2016-1, to

 amend the retention and employment of DTBA nunc pro tunc to January 22, 2018 to include the

 additional services set forth herein in accordance with the parties’ work order dated January 22,

 2018, which is annexed hereto as attached hereto as Exhibit A (the “Additional Services SOW”).

                    9.         In support of this Supplemental Application, the Debtors submit the

 Supplemental Declaration of Keith Adams (the “Adams Supplemental Declaration”), which is

 annexed hereto as Exhibit B.

                     10.       A proposed form of order granting the relief requested herein is annexed

 hereto as Exhibit C (the “Proposed Order”).

                                              Additional Services

                    11.        The Debtors are seeking authority to expand the scope of DTBA’s retention

 to assist the Debtors to develop an estimate of the fair market value of the Westinghouse trade


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 name as of January 1, 2018 (the “Additional Services”). The Debtors require such valuation in

 order to comply with their ordinary course accounting.

                                          Professional Compensation

                     12.       Subject to Court approval, and in compliance with the Order Pursuant to

 11 U.S.C. §§ 105(a), 330, 331 Fed. R. Bankr. P. 2016, and Local Rule 2016-1 Establishing

 Procedures for Interim Compensation and Reimbursement of Expenses of Professionals

 [ECF No. 544], the Debtors will compensate DTBA for the Additional Services based upon the

 hours actually expended by each assigned professional at each professional’s respective hourly

 rate.

                     13.       The hourly rates for the professionals providing the Additional Services are

 as follows:

                           Professional Level                           Hourly Rate
                           Partner / Principal / Managing Director                $640
                           Senior Manager                                         $561
                           Manager                                                $521
                           Senior Consultant                                      $454
                           Consultant                                             $388

 DTBA may also seek reimbursement for actual, necessary, and reasonable out-of-pocket expenses

 incurred in connection with the provision of the Additional Services.

                    14.        As set forth in the Original Application and in accordance with the Original

 Retention Order, DTBA will keep reasonably detailed time records for the Additional Services.

 These time records shall contain detailed time entries describing the task(s) performed, and be

 organized by project category, as applicable. Additionally, DTBA shall serve and file with the

 Court application(s) for interim or final Court approval and allowance, pursuant to the applicable

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 sections of the Bankruptcy Code, the Fee Guidelines (as defined in the Original Application), and

 the applicable orders of the Court, of the compensation and reimbursement of expenses requested

 under the Additional Services SOW. 2

                                            DTBA’s Disinterestedness

                    15.        To the best of the Debtors’ knowledge and except to the extent disclosed

 herein, in the Adams Supplemental Declaration, and/or in the Original Retention Application or

 any of its supporting declarations: (a) DTBA is a “disinterested person” within the meaning of

 section 101(14) of the Bankruptcy Code, as required by section 327(a) of the Bankruptcy Code

 and does not hold or represent an interest adverse to the Debtors’ estates; and (b) DTBA has no

 connection to the Debtors, their creditors or their related parties. To the extent that any new

 relevant facts or relationships bearing on the matters described herein during the period of the

 DTBA’s retention are discovered or arise, DTBA will use reasonable efforts to file promptly a

 supplemental declaration, as required by Bankruptcy Rule 2014(a).

                                    Efforts to Avoid Duplication of Services

                     16.       DTBA’s services are intended to complement, and not duplicate, the

 services to be rendered by any other professional retained by the Debtors in these chapter 11 cases.

 DTBA has informed the Debtors that it understands that the Debtors have retained and may retain

 additional professionals during the term of the engagement and will use its reasonable efforts to




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     Any such fee application may be combined with a fee application pertaining to the Original Retention Application.

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 work cooperatively with the Debtors to integrate any respective work conducted by such

 professionals on behalf of the Debtors, to the extent such integration is necessary.

                                                Basis for Relief

                    17.        The Debtors seek authority to expand the employment and retention of

 DTBA under section 327 of the Bankruptcy Code, which provides that a debtor is authorized to

 employ professional persons “that do not hold or represent an interest adverse to the estate, and

 that are disinterested persons, to represent or assist the [Debtor] in carrying out the [Debtor’s]

 duties under this title.” 11 U.S.C. § 327(a). Section 1107(b) of the Bankruptcy Code elaborates

 upon sections 101(14) and 327(a) of the Bankruptcy Code in cases under chapter 11 of the

 Bankruptcy Code and provides that “a person is not disqualified for employment under section

 327 of [the Bankruptcy Code] by a debtor in possession solely because of such person’s

 employment by or representation of the debtor before the commencement of the case.” 11 U.S.C.

 § 1107(b).

                    18.        The Debtors believe that DTBA’s fees are reasonable in light of industry

 practice and should be approved. In addition, as noted above, DTBA is “disinterested” and all of

 its fees and expenses are subject to approval of the Court in accordance with the Bankruptcy Code,

 the Bankruptcy Rules, the Local Rules, the Fee Guidelines, and further orders of the Court.

 Accordingly, the Court should approve the supplemental employment and retention of DTBA

 pursuant to the terms set forth in the Additional Services SOW.

                                                     Notice

                     19.       Notice of this Supplemental Application will be provided to the Rule 2002

 Parties set forth in the Order Pursuant to 11 U.S.C. §105(a) and Fed. R. Bankr. P. 1015(c),

 2002(m), and 9007 Implementing Certain Notice and Case Management Procedures [ECF No.


                                                       6

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 101]. The Debtors submit that, in view of the facts and circumstances, such notice is sufficient

 and no other or further notice need be provided.

                     20.       No previous request for the relief sought herein has been made by the

 Debtors to this or any other Court.

                     WHEREFORE the Debtors respectfully request entry of the Proposed Order

 granting the relief requested herein and such other and further relief as the Court may deem just

 and appropriate.

 Dated: June 12, 2018
        New York, New York

                                                  WESTINGHOUSE ELECTRIC COMPANY, LLC
                                                  (for itself and on behalf of its affiliates
                                                  as Debtors and Debtors in Possession)


                                                  /s/ Lisa J. Donahue
                                                  NAME: Lisa J. Donahue
                                                  TITLE: Chief Transition and Development Officer




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                                            EXHIBIT A

                                      Additional Services SOW




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                                            EXHIBIT B

                                   Adams Supplemental Declaration




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 UNITED STATES BANKRUPTCY COURT
 SOUTHERN DISTRICT OF NEW YORK
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 In re:                                                       :       Chapter 11
                                                              :
 WESTINGHOUSE ELECTRIC COMPANY :                                      Case No. 17-10751 (MEW)
 LLC, et al.,                                                 :
                                                              :
                                                              :
                   Debtors. 1                                 :       (Jointly Administered)
                                                              :
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     DECLARATION OF KEITH ADAMS IN CONNECTION WITH THE APPLICATION
        OF DEBTORS PURSUANT TO 11 U.S.C. §§ 327(a) AND 328, FED. R. BANKR.
       P. 2014(a) AND 2016, AND LOCAL RULES 2014-1 AND 2016-1 FOR AN ORDER
         EXPANDING THE SCOPE OF THE RETENTION AND EMPLOYMENT OF
       DELOITTE TRANSACTIONS AND BUSINESS ANALYTICS LLP TO INCLUDE
      ADDITIONAL VALUATION SERVICES NUNC PRO TUNC TO JANUARY 22, 2018

         Pursuant to 28 U.S.C. § 1746, I, Louis Librandi, under penalty of perjury, declare as

 follows:

         1.       I am a principal of the firm of Deloitte Transactions and Business Analytics LLP

 (“DTBA”), which has an office at 191 Peachtree Street NE, Suite 2000, Atlanta, Georgia 30303.

 I am duly authorized to make and submit this declaration (the “Supplemental Declaration”) on

 behalf of DTBA as valuation services provider to Westinghouse Electric Company LLC and

 certain above-captioned debtors and debtors in possession (collectively, the “Debtors”) in support


 1
   The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
 number, if any, are: Westinghouse Electric Company LLC (0933), CE Nuclear Power International, Inc. (8833),
 Fauske and Associates LLC (8538), Field Services, LLC (2550), Nuclear Technology Solutions LLC (1921), PaR
 Nuclear Holding Co., Inc. (7944), PaR Nuclear, Inc. (6586), PCI Energy Services LLC (9100), Shaw Global Services,
 LLC (0436), Shaw Nuclear Services, Inc. (6250), Stone & Webster Asia Inc. (1348), Stone & Webster Construction
 Inc. (1673), Stone & Webster International Inc. (1586), Stone & Webster Services LLC (5448), Toshiba Nuclear
 Energy Holdings (UK) Limited (N/A), TSB Nuclear Energy Services Inc. (2348), WEC Carolina Energy Solutions,
 Inc. (8735), WEC Carolina Energy Solutions, LLC (2002), WEC Engineering Services Inc. (6759), WEC Equipment
 & Machining Solutions, LLC (3135), WEC Specialty LLC (N/A), WEC Welding and Machining, LLC (8771),
 WECTEC Contractors Inc. (4168), WECTEC Global Project Services Inc. (8572), WECTEC LLC (6222), WECTEC
 Staffing Services LLC (4135), Westinghouse Energy Systems LLC (0328), Westinghouse Industry Products
 International Company LLC (3909), Westinghouse International Technology LLC (N/A), and Westinghouse
 Technology Licensing Company LLC (5961). The Debtors’ principal offices are located at 1000 Westinghouse Drive,
 Cranberry Township, Pennsylvania 16066.
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 of the Application of Debtors Pursuant to 11 U.S.C. §§ 327(a) and 328(a), Fed. R. Bankr. P.

 2014(a) and 2016, and Local Rules 2014-1 and 2016-1 for an Order Expanding the Scope of the

 Retention and Employment of Deloitte Transactions and Business Analytics LLP to Include

 Additional Valuation Services Nunc Pro Tunc to January 22, 2018 (the “Supplemental

 Application”).

        2.       The statements set forth in this Supplemental Declaration are based upon my

 personal knowledge, upon information and belief, and/or upon client matter records kept in the

 ordinary course of business that were reviewed by me or personnel of DTBA or its affiliates.

        3.       I previously submitted a declaration (the “Original Declaration”) in support of the

 Application of Debtors Pursuant to 11 U.S.C. §§ 327(a) and 328(a), Fed. R. Bankr. P. 2014(a)

 and 2016, and Local Rules 2014-1 and 2016-1 for Authority to Employ and Retain Deloitte

 Transactions and Business Analytics LLP for Valuation and Discovery Services Provider Nunc

 Pro Tunc to the Petition Date [Docket No. 1128] (the “Original Application”), so granted by

 order of the Court, dated September 5, 2017 [Docket No. 1300] (the “Retention Order”).

 Capitalized terms not otherwise defined herein shall have the meanings ascribed to them in the

 Original Declaration or the Supplemental Application, as applicable.

        4.       This Supplemental Declaration is subject to the statements and qualifications set

 forth in the Original Declaration and the previously submitted supplemental declarations, which

 are incorporated herein by reference. As discussed in paragraph 11 of the Original Declaration, I

 stated that as additional material information was discovered, the Original Declaration would be

 supplemented.




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        5.      The Debtors have retained DTBA to provide certain additional valuation services

 to assist the Debtors in developing an estimate of the fair value of the Westinghouse trade tame as

 of January 1, 2018 pursuant to a work order, dated January 22, 2018 (the “Additional Services

 SOW”), attached to the Supplemental Application as Exhibit B. The compensation for these

 services, as provided in the Additional Services SOW, is based on the following hourly rates

 (which exclude expenses):

                                Professional Level              Hourly Rate
                      Partner / Principal / Managing Director        $640
                      Senior Manager                                 $561
                      Manager                                        $521
                      Senior Consultant                              $454
                      Consultant                                     $388
        6.      In addition, DTBA will bill the Debtors for actual, necessary, and reasonable out-

 of-pocket expenses incurred in connection with the provision of the Additional Services.




 Dated: April 20, 2018                  By:   /s/ Keith Adams________________
                                              Keith Adams
                                              Principal
                                              Deloitte Transactions and Business
                                              Analytics LLP




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                                            EXHIBIT C

                                          Proposed Order




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 UNITED STATES BANKRUPTCY COURT
 SOUTHERN DISTRICT OF NEW YORK
 ------------------------------------------------------------ x
 In re:                                                       :        Chapter 11
                                                              :
 WESTINGHOUSE ELECTRIC COMPANY                                :        Case No. 17-10751 (MEW)
 LLC, et al.,                                                 :
                                                              :
                   Debtors.   1                               :        (Jointly Administered)
                                                              :
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                 ORDER AUTHORIZING THE EXPANDED
  RETENTION OF DELOITTE TRANSACTIONS AND BUSINESS ANALYTICS LLP
  FOR ADDITIONAL VALUATION SERVICES NUNC PRO TUNC TO JANUARY 22, 2018

                     Upon      the     Supplemental         Application,        dated      June      12,      2018

 (the “Supplemental Application”), of Westinghouse Electric Company LLC and certain of its

 affiliates, as debtors and debtors in possession (collectively, the “Debtors”), pursuant to sections

 327(a) and 328(a) of title 11 of the United States Code (the “Bankruptcy Code”), Rule 2014 and

 2016 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”) and Rule 2014-1

 and 2016-1 of the Local Rules of Bankruptcy Practice and Procedure of the United States

 Bankruptcy Court for the Southern District of New York (the “Local Rules”) for authority to

 expand the employment and retention of Deloitte Transactions and Business Analytics LLP




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   The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
 number, if any, are: Westinghouse Electric Company LLC (0933), CE Nuclear Power International, Inc. (8833),
 Fauske and Associates LLC (8538), Field Services, LLC (2550), Nuclear Technology Solutions LLC (1921), PaR
 Nuclear Holding Co., Inc. (7944), PaR Nuclear, Inc. (6586), PCI Energy Services LLC (9100), Shaw Global Services,
 LLC (0436), Shaw Nuclear Services, Inc. (6250), Stone & Webster Asia Inc. (1348), Stone & Webster Construction
 Inc. (1673), Stone & Webster, Inc. d/b/a WECTEC Global Project Services Inc. (8572), Stone & Webster International
 Inc. (1586), Stone & Webster Services LLC (5448), Toshiba Nuclear Energy Holdings (UK) Limited (N/A), TSB
 Nuclear Energy Services Inc. (2348), WEC Carolina Energy Solutions, Inc. (8735), WEC Carolina Energy Solutions,
 LLC (2002), WEC Engineering Services Inc. (6759), WEC Equipment & Machining Solutions, LLC (3135), WEC
 Specialty LLC (N/A), WEC Welding and Machining, LLC (8771), WECTEC Contractors Inc. (4168), WECTEC LLC
 (6222), WECTEC Staffing Services LLC (4135), Westinghouse Energy Systems LLC (0328), Westinghouse Industry
 Products International Company LLC (3909), Westinghouse International Technology LLC (N/A), and Westinghouse
 Technology Licensing Company LLC (5961). The Debtors’ principal offices are located at 1000 Westinghouse Drive,
 Cranberry Township, Pennsylvania 16066.



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 (“DTBA”) nunc pro tunc to January 22, 2018, all as more fully set forth in the Supplemental

 Application; and upon the Declaration of Keith Adams in support of the Supplemental Application;

 and this Court having jurisdiction to consider the Supplemental Application and the relief

 requested therein pursuant to 28 U.S.C. §§ 157 and 1334 and the Amended Standing Order M-

 431, dated January 31, 2012 (Preska, C.J.); and consideration of the Supplemental Application and

 the relief requested therein being a core proceeding pursuant to 28 U.S.C. § 157(b); and venue

 being proper before this Court pursuant to 28 U.S.C. §§ 1408 and 1409; and due and proper notice

 of the Supplemental Application having been provided as set forth therein, and it appearing that

 no other or further notice need be provided and this court having reviewed the Supplemental

 Application; and this Court being satisfied that DTBA has the capability and experience to provide

 the services described in the Supplemental Application and that DTBA does not hold an interest

 adverse to the Debtors or their estates with respect to the matters upon which they are to be

 engaged; and it appearing that the relief requested in the Supplemental Application is in the best

 interests of the Debtors, their estates, its creditors, and other parties in interest; and after due

 deliberation thereon; and good and sufficient cause appearing therefor;

                     IT IS HEREBY ORDERED THAT:

                     1.        The Supplemental Application is granted to the extent set forth herein.

                     2.        Pursuant to sections 327(a) and 328 of the Bankruptcy Code, Bankruptcy

 Rules 2014(a) and 2016, and Local Rules 2014-1 and 2016-1, the Debtors are hereby authorized

 but not directed to expand the retention and employment of DTBA nunc pro tunc to January 22,

 2018 to perform the services described in the work order dated January 22, 2018 annexed to the

 Supplemental Application as Exhibit A (the “Additional Services SOW”).

                     3.        DTBA shall be compensated for services performed under the Additional

 Services SOW on an hourly basis in accordance with the sections 330 and 331 of the Bankruptcy

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 Code, the Bankruptcy Rules, the Local Rules, the Order Pursuant to 11 U.S.C. §§ 105(a), 330,

 331 Fed. R. Bankr. P. 2016, and Local Rule 2016-1 Establishing Procedures for Interim

 Compensation and Reimbursement of Expenses of Professionals [ECF No. 544], the Order

 Pursuant to 11 U.S.C. §§ 327(a) and 328, Fed. R. Bankr. P. 2014(a) and 2016, and Local Rules

 2014-1 and 2016-1 for Authority to Employ and Retain Deloitte Transactions and Business

 Analytics LLP as Valuation and Discovery Services Provider Nunc Pro Tunc to the Petition Date

 [ECF No. 1300] (the “Original Retention Order”) and any other applicable procedures and

 orders of this Court.

                     4.        All modifications to the Master Services Agreement made by the Original

 Retention Order shall apply to the Additional Services SOW.

                     5.        Nothing contained in this Order, nor any payment made pursuant to this

 Order, shall be dispositive with respect to any future allocation of responsibility between and

 among Debtors and non-Debtors for such payment, and all rights with respect thereto are expressly

 reserved by the Unsecured Creditors’ Committee.

                     6.        The terms and conditions of this Order shall be immediately effective and

 enforceable upon its entry.

                     7.        Notwithstanding anything in the Supplemental Application or the

 Additional Services SOW to the contrary, during the pendency of the chapter 11 cases, this Court

 retains exclusive jurisdiction over all matters arising out of and/or pertaining to DTBA’s

 engagement. Any provision of the Additional Services SOW that provides for mediation or

 arbitration or for jurisdiction in a different court shall not be applicable unless this Court lacks

 jurisdiction pursuant to the previous sentence.




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    Dated: _______, 2018
          New York, New York


                                                     United States Bankruptcy Judge




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